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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS

LTNITED STATES OF AMERICA,                            )
                                                      )
                       Plaintiff,                     )
                                                      )
                                                      )   Civil   Case   No. l8- cv-01241-JTM-JPO
                                               )
Defendant No. 1 : $44,134.00 IN TINITED STATES )
CURRENCY. More or less,                        )
                                                      )
                       Defendant.                     )
                                                      )

                          COMPLAINT F'OR FORFEITURE IN REM

       Plaintifi United   States of America, by and through irs attomeys, Stephen R. McAllister,

United States Attomey for the District of Kansas, and Annette Gumey, Assistant United States

Attomey, brings this complaint and alleges as follows in accordance with Supplemental Rule G(2)

ofthe Federal Rules of Civil Procedure:

                                    NATURE OF THE ACTION

       l.      This is an action to forfeit and condemn to the use and benefit ofthe United States

of America the above-captioned defendant for violations of21 U.S.C. gg 841 and 846.

                                    THE DEFENDANTS IN REM

       2.      Delendant No. I consists of$44,134.00 in United States currency, more or less,

that was recovered in the Eastern Districl of Califomia, on April 4, 201 8, from Steven Martinez

at his residence in Rosamond, Califomia.

                          JURISDICTION AND VENUE

       3.      Plaintiff brings this aclion in rem in its own right to forfeit and condemn the

defendant. This Court   has   jurisdiction over an action commenced by the Unitcd States under 28

U.S.C. S 1345, and over an action for forfeiture under 28 U.S.C. $ 1355.
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              4.     This Court has in rem jvrisdiction over the defendant under 28 U.S.C. $ 1355(b).

Upon filing this complaint, the plaintiff requests that the Court issue an afiest wafiant in rem

pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute upon the property

pursuant to 28 U.S.C. $ 1355(d) and Supplemental Rule G(3)(c).

          5.         Venue is proper in this district pursuant to 28 U.S.C. $ 1355(bX1), because some

ofthe acts or omissions giving rise to the forfeiture occurred in this district. The defendant is

currently in the custody ofthe Intemal Revenue Service.

                                          BASIS FOR FORFEITURE

          6.         The defendant property is subject to forfeiture pursuant to 21 U.S.C. g 881(a)(6)

because       it constitutes   1) money, negotiable instruments, securities and other things of value

fumished or intended to be fumished in exchange for a controlled substance in violation of the

Controlled Substances Act; andlot 2) proceeds traceable to such an exchange; and./or 3) money,

negotiable instruments, and securities used or intended to be used to facilitate a violation ofthe

Controlled Substances Act.

                                                     FACTS

          7.         Supplemental Rule G(2)(f) requires this complaint to state suffrciently detailed

facts to support a reasonable beliefthat the United States        will   be able to meet its burden   ofproof

at   trial.   Such facts and circumstances supporting the seizure and forfeiture       ofthe defendant are

contained in Exhibit A which is attached hereto and incorporated by reference.

                                             CL{MFORRELIEF
          WHEREFORE, the plaintiff requests that the Court issue a warrant for the arrest of            t}1e


defendant; that notice ofthis action be given to all persons who reasonably appear to be potential
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claimants of interests in the defendant; that the defendant be forfeited and condemned to the

United States of America; that the plaintilf be awarded its costs and disbursements in this action

and for such other and further relief as this Court deems proper and just.

       The United States hereby requests that trial ofthe above entitled matter be held in the

City of Wichit4 Kansas.

                                                     Respectfirlly submitted,

                                                     STEPHEN R. MCALLISTER




                                                     1200 Epic Center, 301 N. Main
                                                     Wichita, Kansas 67202
                                                     (316)269-648r
                                                     KS S.Cr.No.l1602
                                                     annette.zumev@usdoi.sov
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                                             DECLARATION

        I, Riohard   E Littrell,   am a Special Agent with the Intemal Revenue   Service, I have read

the contenb ofthe foregoing Complaint for Forfeiture, and the exhibit thereto, and the statements

contained therein ar€ trit€   1o   ihe best ofmy knowledge and belief'

       I declare under penalty ofperjury that the ftregoing is tue and corect.

        Executed on this    Z9\         aav of eugust,   zott.



                                                  Richard E. Littrell
                                                  Special Agent
                                                  Intemal Revenue Service
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              AFFIDAVIT IN SUPPORT OF'A COMPLAINT FOR FORFEITURE


I, Richard E. Littrell, being duly sworn. declare and state the following:

         l.     I am employed   as a Special   Agent with Intemal Revenue Service - Criminal

Investigation (IRS-CD, and have been employed in this capacity since April 2009. My duties

and responsibilities as a Special Agent include conducting criminal investigations of individuals

and businesses that have violated Federal oriminal laws found in Title 26 (lntemal Revenue

Code) and related financial crimes in   'fitle l8 (money laundering)   and Title   3   I (bank   secrecy act)

of the united States code. Since becoming a special Agent with IRS-CL I have received formal

training at the Federal Law Ilnforcement Training Center in Glynco, Georgia in conducting

financial investigations that involve analyzing financial records evidencing violations of Titles

26,   l8and3l ofthe United   States Code.   I have received extensive training onthe laws

regarding search and seizure and the execution of search warrants. I have analyzed many types

of financial records including banking records, financial statements, ta\ retums, retum preparer

records, records of individuals and businesses, joumals, ledgers, receipts, work papers, con[acrs,

invoices, loan agreements, and real estate documents. I have participated in various lypes           of
investigations including income ta-r evasion, fraudulent tax returns, identity theft, money

laundering, elderly financial abuse, and drug trafficking. In addition to my training and

experience, I hold Bachelor ofScience degrees from the University ofKansas in Accounting and

Business Administration and a Master's Degree from the University of Kansas in Accounting. I

am also a Certified Public Accountant (Inactive) in the State of Missouri.

        2.      The information in this Affidavit is based upon my training and experience,

coupled with my personal knowledge o1'the facls ofthe investigation to which this affidavit

relates, including information from other law enforcement officers and examination offinancial
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records. Because this affidavit is provided for the limited purpose of supporting a complaint for

forfeiture, I have not included all aspects ofthe investigation, but rather, have set forlh only

those facts that I believe establish probable cause for the forfeiture of the following:

                A.    Approximately $44, 134.00 in United States currency seized on April 4,

3028, from Steven Martinez in Rosamond Califomia.

        3.      i   am currently involved in the on-going investigation involving, among others,

Steven Martinez, for violations      of2l   lJ.S.c. $$ 841 and 846. The investigation has shown that

Steven Martinez (Martinez) is the owner/operator of a medical marijuana delivery service in the

Lancaster, Califomia area called The High Desert Collective (THDC). Martinez and co-

conspirators have been mailing marijuana to Austin, Texas and Kansas City.

        4.     In July and September of 2017, the United States Postal Service (USpS) obtained

federal search wanants for two parcels. The parcel in July contained approximately six pounds,

8.3 ounces of marijuana. The parcel in September contained approximately three pounds. 5.8

ounces of marijuana. The senders of both packages, which were mailed from Califomia,

appeared to be the same person who was identified by law enforcement.

       5.      In October, 2017 ,Ihe Kansas City, Kansas Police Depaftment (KCKPD) obtained

a state search warrant   for   a package that had the same   delivery address as the package in July,

2017, (discussed in paragraph 4, above). Inside the package was approximately one pound, 1.6

ounces of marijuana. The investigators delivered the package and then executed a search

warrant for the residence. Inside the house the followins was found:

               A. Fivejars  containing suspected marijuana (totaling approximately 0.69 pounds)
               and several empty jars with a grcen residue inside;

               B. Vacuum-seal        bags with marijuana residue, a box ofnew vacuum-scal bags,
               and a vacuum-seal machine:
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                    C. A digital   scale, one package of rolling papers, one roller, and one grinder;

                    D.  One loaded, HK .45 caliber semi-automatic handgun; four .40 caliber Glock
                    magazines; live and expended 9mm, .40 caliber, and .45 caliber rounds; empty
                    cases for a Glock l9 and a Glock 231" and an empty box for an AR-style rifle;

                    E. Three surveillance    cameras on the residence's exterior;

                    F. A paylowe sheet \.vith dates, amounts, and initials written on it. A notahon
                    *2/4/17 l0- I mike, 1st
                                            5%shor,2nd52zips short" was made on the sheet. T'he
                    term "zips" is a commonly used street tetm to describe an ounce ofnarcotics.
                    This conesponded to USPS records showing two (2) parcels shipped on I,'ebruary
                    2,2017 (U.5. Postal Service Priority Mail parcel with tracking number 9505 5163
                    3411 7033 1178 03) and February 7,2017 (tJ.S. Posral Service Priority Mail
                    parcel bearing tracking number 9505 5 163 341 1 7 038 1210 65) from Lancaster,
                    C493534 to 2301 N.2lst Street, Kansas Ciry, KS 66104;

                    G. A Wells  Fargo transaction receipt, showing a $6,800 cash deposit into the
                    account number ending in 93 3 8r, one ofthe accounts for which forf'eiture is
                    sought; and

           6.       Records from the USPS indicate that between September 21. 2016 and September

25,2011 , eleven parcels with a combined weight of approximately I 14.82 pounds were shipped

to the same identified address in Kansas City, Kansas

           7.       The investigation has further established that Martinez has received out-of-state

cash deposits      primarily from Texas and the Kansas City metropolitan area in amounts ranging

from $500 to $8.000 into his bank accounts, and directed the shipment ofnarcotics, namely

marijuana, to other states using the United States Postal Service (USPS) and Federal Express

(Fed    Ex).    George Garcia (Garcia) has received large, out-of-state cash deposits from Texas and

Kansas City on Martinez's behalf in amounts ranging lrom $2,000 to $8,000 into his bank

account, to conceal and help facilitate payments related to the drug trafficking operation.

          8.        Steven Martinez had a Bank ofAmerica account ending in 5812 that was opened

in Lancaster, Caiifomia on November 2, 2012. 'I'otal deposits into the account from December


I The   nane on this bank account was Gcorqe Garcia,
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2014 through February 2018 totaled $393,941.37. Of this amount, approximately $273,875 were

out ofstate cash deposits that were deposited into the account from Kansas, Texas, and

Connecticut. Cash deposits made in the Kansas City area were $165,485.

        9.          George Garcia had a Wells Fargo account ending in 9338 that was opened in

Lancaster, California on September 30,2016. Total deposits into the account lrom June 2016

through January 2018 totaled $191,663.84. Of this amount, approximately $164,250 were out              of
state cash deposits that were deposited into the account       fiom Kansas and Texas. Cash depostts

made in the Kansas City area were $165,485.

        10.         Steven Martinez had cash withdrawals from his Bank of America account endins

in 5812 totaling approximately $139,238.60 between April 2015 and September 2017. George

Garcia had cash withdrawals from his Wells Fargo account ending in 9338 totaling

approximately 5123,575.23 between December 1, 2016 November 11,2017                 .



        I   I   .   On April 4,2018, search warrants were executed at the residences of Martinez

and Garcia in Rosamond,        Califomia. Cash was located in six different locations within

Martinez's house and in his car. The total amount of the currency seized was $44,134.00.

       12.          Based on the facts set forth herein, there is probable cause to believe that the

$44,134.00 seized from Steven Martinez on April 4,2018, is subject to forfeiture pursuant to 21

U.S.C. $ 881(a)(6) because it constitutes 1) money. negotiable instruments, securities and other

things ofvalue furnished or intended to be furnished in exchange for a controlled substance in

violation of the Controlled Substances Act; and/or 2) proceeds traceable to such an exchange;

and/or 3) money, negotiable instruments, and securities used or intended to be used to facilitate a

violation ofthe Controlled Substances Act.
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                                                  Special Agent
                                                  Inteinal Reveirue Service


  Swom and subscdbed before me this         J6   day of August, 2018.




  My commission expircs          T) 0tvnt1tf     5,SQl

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